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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                 Plaintiff,             Case No. CR11-259-RAJ

10          v.                                            DETENTION ORDER

11 TEDDY J. MORRIS,

12                                 Defendant.

13 Offenses charged:

14          Wire Fraud
            Possession of Stolen Mail
15          Aggravated Identity Theft
            Social Security Number Fraud.
16
     Date of Detention Hearing: August 10, 2011.
17
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
18
     and based upon the factual findings and statement of reasons for detention hereafter set forth,
19
     finds that no condition or combination of conditions which the defendant can meet will
20
     reasonably assure the appearance of the defendant as required and the safety of any other person
21
     and the community.
22
                 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
            Defendant has an extensive criminal history and has failed to appear for past court


     DETENTION ORDER - 1
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 1 hearings on a number of occasions. The Court received no information about the defendant’s

 2 ties to the community, employment or health. The defense did not contest detention.

 3          It is therefore ORDERED:

 4          (1)    Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6 from persons awaiting or serving sentences, or being held in custody pending appeal;

 7          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9          (3)    On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined

11 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

12 connection with a court proceeding; and

13          (4)    The clerk shall direct copies of this order to counsel for the United States, to

14 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

15 Officer.

16       DATED this 10th day of August, 2011.

17

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19                                                        A
                                                          BRIAN A. TSUCHIDA
20                                                        United States Magistrate Judge

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     DETENTION ORDER - 2
